110 F.3d 69
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.ROLAND CORPORATION U.S., a Delaware Corporation, Plaintiff/Appellee,v.ATMEL CORPORATION, et al., Defendants/Appellants.
    No. 97-55015.
    United States Court of Appeals, Ninth Circuit.
    Submitted March 24, 1997.*Decided March 27, 1997.
    
      Before:  SNEED, FARRIS and THOMAS, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      This appeal from the grant of a motion for a preliminary injunction comes to us for review under Ninth Circuit Rule 3-3.  We have jurisdiction under 28 U.S.C. § 1292(a)(1), and we affirm.
    
    
      3
      "A district court's order granting preliminary injunctive relief is subject to limited review:  It will be reversed only where the district court abused its discretion or based its decision on an erroneous legal standard or on clearly erroneous findings of fact."  Triad Systems Corp. v. Southeastern Exp. Co., 64 F.3d 1330, 1334 (9th Cir.1995), cert. denied, 116 S.Ct. 1015 (1996).
    
    
      4
      The record before us shows that the district court did not abuse its discretion or base its decision on an erroneous legal standard or on clearly erroneous findings of fact.  See id.   Accordingly, the preliminary injunction is AFFIRMED.
    
    
      
        *
         The panel finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    